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                          EXHIBIT 4
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 ---------- Forwarded message ---------
 From: Shane Tierney <shane@theblumarket.com>
 Date: Sat, Mar 12, 2016 at 11:43 AM
 Subject: Affiliates KIK List
 To: <ace@theblumarket.com>
 Cc: Steven Forkosh <steven@theblumarket.com>


 Some didn’t have answers and there are still a few hundred processing that should be ready by tonight or
 tomorrow.



kiks.csv
131K
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id          name        im_client im_username
     1002   Blu Market none
     1006   Lester L    skype     None
     1008   Kevin Turci none      Kevinyoo1
     1010   Chukudi Monone        NYCrealistG
     1012   Waqar Naz other       Waqardon
     1014   Nick DiMar none
     1018   Justin Garc none
     1032   Christophe kik        Dopekidnunez
     1034   Imstagrampromos
     1036   Mahmoud none
     1038   Cameron Stother:kik Estrogens
     1040   Walter Dor kik        Waltah
     1042   Dalton Creskik        remainder
     1044   Ayoub Omaother:kik w1
     1046   Drake Rufu kik        contributing
     1048   Conner Wil other:kik Wisdom
     1050   Travis Bow kik        JustTravis_24
     1052   Daniel Wat other:kik Surfing
     1056   Stephanie Ukik
     1060   Jacob Zach kik        Jakepriv
     1064   Ashton Bro other:kik Arching
     1068   Neil Sanghvother:kik Worlds
     1070   Joseph Nar kik        Josephn
     1082   keryn diaz none
     1084   Javier Hern kik       .iglegend
     1092   Preston Lewnone       PrestonTheBoss
     1110   Cale Bodda kik        CFWify
     1112   Wow Daqu other:kik Best_Picturez
     1128   Matt Lento skype      matt.smith110
     1144   Jesse Cruz kik        PincheJessyka
     1146   Steven Richskype      cotd.inhd
     1148   Jean Alvareother:kik GoldenDrvgs
     1166   Mo Daher other:kik Areyouevenknown
     1170   Leonardo Rkik         Leonardo8123
     1188   jensen kokokik        Callvmar
     1190   Daniel Co none
     1196   Darion Caruother:kik Best.texting
     1200   Tanvir Rahmkik        Rtanvir20
     1210   Jerry Smoa kik        Alone
     1216   Jesus silva kik       singer11_11
     1220   Jacob Johnskik        Terribleideas
     1232   Alexis Michnone
     1248   Chris torresnone
     1250   harry jones kik       harryjonesx
     1254   Artem Voronone
     1264   Jake Brownkik         Fxckjaaaay
                      Case 1:21-cv-10623-JGK Document 44-4 Filed 05/04/22 Page 4 of 5




           ---------- Forwarded message ---------
           From: Shane Tierney <shane@theblumarket.com>
           Date: Sat, Apr 23, 2016 at 1:42 PM
           Subject: Affiliate List
           To: Justin E <justin@theblumarket.com>, Lisa Navarro <lisa@theblumarket.com>


           Attached




                        Shane Tierney
                        CTO
                        The BLU Market
                        718.496.9278




           --

           Lisa Navarro
                            Chief Officer Operations




                         400 Broome Street
           11th floor New York, NY 10013

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id         status     first_name      last_name   email


     11915 active     Melvin          Unknown     melvinpimton@gmail.com


     20617 active     Kristianallen   Hendricks   hendricks.kristian@yahoo.com


      8404 active     Samuel          Mallard     kingkaayy@gmail.com


     20977 active     Andy            Shin        Instagrambusiness@yahoo.com


     22571 active     girls           wants       girlswants1@gmail.com


      8576 active     jordan          smith       jordan@jsmith.me


      7334 deleted


      6994 active     jake            Cummings    jake.cummings7@icloud.com


     24400 active     Clay            Johnson     Clayjohnson75@me.com


     19504 rejected


      7782 active     William         Nguyen      wn1095@gmail.com


     20333 active     None            None        Amyfun91@gmail.com


     24180 active     Imani           Ahmad       advertiseunow@gmail.com


     21245 rejected


      2074 rejected


      3994 active     Kaymar          Facey       THatn1ggaH@icloud.com


     11779 active     Jonathan        Sherman     Jon@newagevapes.com


     16122 deleted


     10670 rejected


      8424 rejected


     22327 rejected


     13252 deleted
